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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 District of Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Lumio Holdings, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               8      7      3    5    4 7     1    1 9
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business
                                              1550 W Digital Drive
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                                  Suite 200
                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                              Lehi                        UT       84043
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                            Utah
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                  www.lumio.com
                                              ____________________________________________________________________________________________________




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Debtor        Lumio Holdings, Inc.
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 6.   Type of debtor                    
                                        ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                         Partnership (excluding LLP)
                                         Other. Specify: __________________________________________________________________

                                        A. Check one:
 7.   Describe debtor’s business
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        
                                        ✔ None of the above


                                        B. Check all that apply:

                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            2 ___
                                           ___ 2 ___
                                                  1 ___
                                                     1

 8.   Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                     Chapter 7
                                         Chapter 9
                                        
                                        ✔ Chapter 11. Check all that apply:
                                                       Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                            4/01/25 and every 3 years after that).
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                            of operations, cash-flow statement, and federal income tax return or if all of these
                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                            chooses to proceed under Subchapter V of Chapter 11.

                                                         A plan is being filed with this petition.
                                                         Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).

                                                         The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                         The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                         Chapter 12
 9.   Were prior bankruptcy cases       
                                        ✔ No
      filed by or against the debtor
      within the last 8 years?           Yes. District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY


 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 2
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Debtor        Lumio Holdings, Inc.
              _______________________________________________________                      Case number (if known)_____________________________________
              Name



 10. Are any bankruptcy cases            No
     pending or being filed by a                      Lumio HX, Inc.
     business partner or an             
                                        ✔ Yes. Debtor _____________________________________________ Relationship Affiliate
                                                                                                                 _________________________
     affiliate of the debtor?                              Delaware
                                                  District _____________________________________________ When               __________________
     List all cases. If more than 1,                                                                                        MM / DD / YYYY
     attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this      Check all that apply:
     district?
                                        
                                        ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                        
                                        ✔ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have        
                                        ✔ No
     possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard? _____________________________________________________________________

                                                  It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                  Other _______________________________________________________________________________


                                                 Where is the property?_____________________________________________________________________
                                                                           Number          Street

                                                                           ____________________________________________________________________

                                                                           _______________________________________         _______ ________________
                                                                           City                                            State ZIP Code


                                                 Is the property insured?

                                                  No
                                                  Yes. Insurance agency ____________________________________________________________________
                                                          Contact name     ____________________________________________________________________

                                                          Phone            ________________________________




             Statistical and administrative information



 13. Debtor’s estimation of             Check one:
     available funds                    
                                        ✔ Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        
                                        ✔ 1-49                            1,000-5,000                              25,001-50,000
 14. Estimated number of
                                         50-99                           5,001-10,000                             50,001-100,000
     creditors
                                         100-199                         10,001-25,000                            More than 100,000
                                         200-999

 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor
             Lumio Holdings, Inc.
            _______________________________________________________                             Case number (if known)_____________________________________
            Name



                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               
                                                                             ✔ $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million
                                                                             ✔                                            More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                         09/03/2024
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Jeffrey T. Varsalone
                                             _____________________________________________
                                                                                                          Jeffrey T. Varsalone
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                    Chief Restructuring Officer
                                             Title _________________________________________




 18. Signature of attorney
                                         /s/ Robert J. Dehney, Sr.
                                             _____________________________________________                Date       09/03/2024
                                                                                                                     _________________
                                             Signature of attorney for debtor                                        MM     / DD / YYYY



                                              Robert J. Dehney, Sr.
                                             _________________________________________________________________________________________________
                                             Printed name
                                             Morris, Nichols, Arsht & Tunnell LLP
                                             _________________________________________________________________________________________________
                                             Firm name
                                              1201 N. Market Street,16th Floor, P.O. Box 1347
                                             _________________________________________________________________________________________________
                                             Number     Street
                                             Wilmington
                                             ____________________________________________________                 DE
                                                                                                             ____________
                                                                                                                              19801
                                                                                                                          ______________________________
                                             City                                                            State        ZIP Code

                                             (302) 658-9200
                                             ____________________________________                            rdehney@morrisnichols.com
                                                                                                             __________________________________________
                                             Contact phone                                                   Email address



                                             3578
                                             ______________________________________________________ ____________
                                                                                                                   DE
                                             Bar number                                             State




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                                            UNANIMOUS WRITTEN CONSENT
                                            OF THE BOARDS OF DIRECTORS
                                            OF LUMIO HOLDINGS, INC. AND
                                                   LUMIO HX, INC.

                                                        September 2, 2024

                        The undersigned, being all members of the boards of directors (each, a “Board”) of
            Lumio Holdings, Inc. (“Holdings”) and Lumio HX, Inc. (“HX”, together with Holdings, each a
            “Company”) and together, the “Companies”), consent to and adopt the following resolutions:

                           WHEREAS, the Boards have reviewed and considered, among other things, the
            financial condition of each Company;

                           WHEREAS, the Boards have consulted with the management and the legal and
            financial advisors of each Company to fully consider and evaluate, and have considered and
            evaluated, each Company’s financial and operational condition, including the historical
            performance of each Company, the assets of each Company, the current and long-term liabilities
            of each Company, the strategic opportunities available to each Company and the effect of the
            foregoing on each Company;

                           WHEREAS, the Boards, in consultation with the management and the legal and
            financial advisors of each Company, have determined that it is in the best interests of each
            Company to explore a potential sale of its assets to one or more potential bidders; and

                             WHEREAS, the Boards have received, reviewed, and considered the
            recommendations of the management of each Company and the legal, financial, and other advisors
            as to the relative risks and benefits of pursuing a bankruptcy proceeding, and has determined that,
            in the Boards’ judgment, it is advisable and in the best interests of each Company, its creditors,
            equity holders, employees and other interested parties that each Company voluntarily files a
            petition (collectively, the “Petitions” and, such cases, the “Bankruptcy Cases”) under chapter 11
            of title 11 of the United States code (the “Bankruptcy Code”) in the United States Bankruptcy
            Court for the District of Delaware (the “Bankruptcy Court”); and

                           WHEREAS, the Boards, in consultation with the management and the legal and
            financial advisors of each Company, intend for each Company to enter into (i) that certain Asset
            Purchase Agreement (the “Stalking Horse Agreement”) with LHX Home Services, LLC to
            purchase substantially all of each Company’s assets, subject to higher and better bids, and (ii) that
            certain Superpriority Senior Secured Debtor-in-Possession Loan Agreement (the “DIP Credit
            Agreement” and together with other documents related to debtor-in-possession financing, the “DIP
            Documents”) with White Oak Global Advisors, LLC to provide the Companies with debtor-in-
            possession financing (the “DIP Credit Facility”).
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                            NOW, THEREFORE, IT IS RESOLVED, that the filing by the Companies of
            the Petitions in the Bankruptcy Court be, and hereby is, authorized, approved, confirmed, and
            adopted in all respects; and it is further

                           RESOLVED, that any officer of each Company (each, an “Authorized Person”),
            in each case, acting individually or jointly, be, and each hereby is, authorized, empowered, and
            directed, with full power of delegation, to negotiate, execute, verify, deliver, and file with the
            Bankruptcy Court, in the name and on behalf of the applicable Company, and under its corporate
            seal or otherwise, all petitions, schedules, statements, motions, lists, applications, pleadings,
            papers, affidavits, declarations, orders, plans, and other documents (collectively, the “Chapter 11
            Filings”) (with such changes therein and additions thereto as any such Authorized Person may
            deem necessary, appropriate or advisable, the execution and delivery of any of the Chapter 11
            Filings by any such Authorized Person with any changes thereto to be conclusive evidence that
            any such Authorized Person deemed such changes to meet such standard); and it is further

                           RESOLVED, that any Authorized Person, be, and each hereby is, authorized,
            empowered, and directed, with full power of delegation, in the name and on behalf of the
            applicable Company, to take and perform any and all further acts and deeds that such Authorized
            Person deems necessary, appropriate, or desirable in connection with such Company’s Chapter 11
            Case or the Chapter 11 Filings, including, without limitation, (i) the payment of fees, expenses and
            taxes such Authorized Person deems necessary, appropriate, or desirable, and (ii) negotiating,
            executing, delivering, performing and filing any and all additional documents, schedules,
            statements, lists, papers, agreements, certificates and/or instruments (or any amendments or
            modifications thereto) in connection with, or in furtherance of, such Company’s Chapter 11 Case
            with a view to the successful prosecution of such Chapter 11 Case (such acts to be conclusive
            evidence that such Authorized Person deemed the same to meet such standard); and it is further

                             RESOLVED, that any Authorized Person, and each of them, acting either
            individually or jointly, are hereby authorized, empowered, and directed, in the name and on behalf
            of the Company, to retain (i) Morris, Nichols, Arsht & Tunnell LLP, as general bankruptcy
            counsel, (ii) Stretto, Inc., as claims and noticing agent and administrative agent, and (iii) Houlihan
            Lokey Capital, Inc., as investment banker, in each case on such terms as any Authorized Person
            shall deem necessary, appropriate or desirable and subject to any required approvals of the
            Bankruptcy Court; and it is further

                            RESOLVED, that, with respect to each Company, any Authorized Person, any one
            of whom may act without the joinder of any of the others, hereby is authorized, empowered, and
            directed, with full power of delegation, in the name and on behalf of the applicable Company, to
            take and perform any and all further acts or deeds, including, but not limited to (i) the engagement
            or retention of such further accountants, counsel, consultants or advisors; (ii) the negotiation of
            such additional agreements, amendments, modifications, supplements, reports, documents,
            instruments, applications, notes or certificates not now known but which may be required; (iii) the
            execution, delivery and filing (if applicable) of any of the foregoing; and (iv) the payment of all

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            fees, consent payments, taxes and other expenses; all of the foregoing, as any such Authorized
            Person, in his or her sole discretion, may approve or deem necessary, appropriate or desirable in
            order to carry out the intent and accomplish the purposes of the foregoing resolutions and the
            transactions contemplated thereby, with all of such actions, executions, deliveries, filings and
            payments to be conclusive evidence of such approval or that such Authorized Person deemed the
            same to meet such standard; and it is further

                         RESOLVED, that, each Company is authorized but not directed, and any
            Authorized Person, in each case, acting individually or jointly, be, and hereby is, authorized,
            empowered, but not directed, with full power of delegation, in the name and on behalf of each
            Company, as a debtor and debtor in possession, to enter into the DIP Documents; and it is further

                           RESOLVED that the Authorized Persons be, and each of them hereby is, acting
            alone or in any combination, authorized, empowered, and directed, in the name and on behalf of
            each Company, to, if the Authorized Persons determine it to be necessary or appropriate, cause to
            be prepared, to negotiate, execute, and deliver, and each Company is hereby authorized to perform
            its obligations and take the actions contemplated under, the DIP Documents and such other
            documents, agreements, guaranties, instruments, financing statements, notices, undertakings, other
            loan documents promissory notes, term sheets, fee letters, control agreements, landlord
            agreements, pledge agreements, assignments, stock powers, intellectual property filings and
            recordations, letters of credit, certificates, powers of attorney, consents, waivers, other security
            documents and any other necessary or appropriate agreement, instrument, document, or certificates
            related to the DIP Documents, each containing such provisions, terms, conditions, covenants,
            warranties, and representations as may be deemed necessary or appropriate by the Authorized
            Persons, and any amendments, restatements, amendments and restatements, supplements, or other
            modifications thereto, in each case with such changes therein and additions thereto as shall be
            deemed necessary, appropriate, or advisable by any Authorized Person executing the same in the
            name and on behalf of the Company, such approval to be evidenced conclusively by such
            execution; and it is further

                            RESOLVED, that each Authorized Person be, and hereby is, authorized, directed
            and empowered, either jointly or severally, for and on behalf of and in the name of each Company
            to cause each Company and its subsidiaries to pledge, mortgage, or otherwise grant security
            interests in, and liens upon, any or all of the assets and properties, real and personal, now owned
            or hereafter acquired by each Company and its subsidiaries, including, without limitation, any
            capital stock, membership interests, or other ownership interests owned by each Company or any
            subsidiary in any corporations, limited liability companies, or other entities, now existing or
            hereafter arising or acquired (collectively, the “Collateral”), as applicable, and all proceeds of the
            Collateral as may now or from time to time be required in connection with the DIP Documents
            and the DIP Credit Facility, to secure payment and performance by each Company of its
            obligations under the DIP Documents and such other obligations that are required to be secured
            under the DIP Documents and take such further action to maintain and perfect such liens and
            otherwise necessary to effect the purposes of the DIP Documents; and it is further

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                         RESOLVED, that, each Company is authorized but not directed, and any
            Authorized Person, in each case, acting individually or jointly, be, and hereby is, authorized,
            empowered, but not directed, with full power of delegation, in the name and on behalf of each
            Company, to enter into the Stalking Horse Agreement; and it is further

                          RESOLVED, that each Authorized Person be, and hereby is, authorized,
            empowered, and directed, either jointly or severally, for and on behalf of and in the name of each
            Company, to negotiate, execute and deliver on behalf of each Company any agreements,
            documents and instruments in connection with the Stalking Horse Agreement or as such
            Authorized Persons may deem necessary, advisable or appropriate, such approval to be evidenced
            conclusively by such execution; and it is further

                            RESOLVED, that, each Company is authorized and directed, and any Authorized
            Person, in each case, acting individually or jointly, be, and hereby is, authorized, empowered, and
            directed, with full power of delegation, in the name and on behalf of each Companies, as a debtor
            and debtor in possession, to negotiate a sale or sales of some or all of the assets of each Companies,
            to take such actions and execute, acknowledge, deliver, and verify such agreements, certificates,
            instruments, and any and all other documents, including any amendments or other modifications,
            as any of the Authorized Persons may deem necessary or appropriate to facilitate such sale or sales,
            and to authorize counsel to: (a) draft, file and seek approval of bidding procedures pursuant to
            which the Companies shall seek higher or otherwise better offers for the sale or sales of some or
            all of the assets of the Companies; (b) draft, file and seek approval of any such sale and
            corresponding sale agreement; (c) execute, deliver and file on behalf of the Companies such
            affidavits of declarations as such Authorized Person, in his or her opinion, deems necessary or
            desirable in connection with obtaining approval of such bidding procedures and any subsequent
            sale or sales; and (d) take any and all such other actions as such Authorized Person, in his or her
            opinion, deems necessary or desirable in connection with obtaining the highest or otherwise best
            offer for the Companies’ assets; and it is further

                            RESOLVED, that any and all past actions heretofore taken by any Authorized
            Person or any director of the Companies in the name and on behalf of the Companies related to
            the matters described in or contemplated by the foregoing resolutions, be, and the same hereby are,
            ratified, confirmed, and approved in all respects.




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                    IN WITNESS WHEREOF, these the undersigned directors have executed this consent
            on the dates set forth below.




            _____________________________
            Travis M. Wilson




            _____________________________
            Mike Giles




            _____________________________
            Sam Humphries




            _____________________________
            Jeffrey T. Varsalone




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      Fill in this information to identify the case:

      Debtor name    Lumio Holdings, et al.,
      United States Bankruptcy Court for the:                         District of   Delaware
                                                                                    (State)
      Case number (If known):
                                                                                                                                    Check if this is an
                                                                                                                                           amended filing




Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                       12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and email            Nature of the Indicate if    Amount of unsecured claim
     mailing address, including zip         address of creditor contact                  claim (for     claim is      If the claim is fully unsecured, fill in only unsecured
     code                                                                                example, trade contingent, claim amount. If claim is partially secured, fill in
                                                                                         debts, bank    unliquidated, total claim amount and deduction for value of
                                                                                         loans,         or disputed collateral or setoff to calculate unsecured claim.
                                                                                         professional
                                                                                         services, and
                                                                                                                         Total claim, if     Deduction for    Unsecured
                                                                                                                         partially           value of         claim
                                                                                                                         secured             collateral or
                                                                                                                                             setoff

1    Slim Ventures LLC
                                          P:801-831-5201
     1905 W 4700 S                                                                      Note                                                                 $5,465,719.18
                                          dmikebishop@gmail.com
     Salt Lake City, UT 84129


2    Palmetto Solar, LLC                  Derek Heckendorn
     1616 Camden Rd #300                  Ph:856-816-5521                               Prebate                                                              $4,800,000.00
     Charlotte, NC 28203                  derek.heckendorn@palmetto.com

3    Solar Mosaic LLC                     John Bumgarner
     601 12th Street, Suite 325           P: 619-209-1964                               Prebate                                                              $2,465,814.24
     Oakland, CA 94607                    john.bumgarner@joinmosaic.com

4    Sales Rabbit, Inc.                   Brady Anderson
     2000 Ashton Blvd                     P. 801-418-9009                               Trade Debt                                                           $2,004,122.94
     Lehi, UT 84043                       Brady@salesrabbit.com

5    Sunnova Energy Corporation           Mark Delaney
     20 Greenway Plaza Suite 540          P. 832-683-2766                               Prebate                                                              $1,700,000.00
     Houston, TX 77046                    mark.delaney@sunnova.com

6    Consolidated Electrical
                                          Dan Fadden
     Distributors, Inc.
                                          P: 614-856-0685                       Trade Debt                                                                   $1,460,514.98
     603 CR 7150 Suite 2
                                          daniel.fadden@greentechrenewables.com
     Lubbock, TX 79404

7    Dentons Durham Jones
                                          David Tufts
     Pinegar PC                                                                         Professional
                                          P: 801-415-3000                                                                                                    $1,194,538.40
     111 S Main St Suite 2400                                                           Fees
                                          david.tufts@dentons.com
     Salt Lake City, UT 84111

8    Soligent Distribution, LLC     Jessica Holt
     1400 N McDowell Blvd Suite 201 P: 469-699-8870                                     Trade Debt                                                           $1,156,380.30
     Petaluma, CA 94954             Jessica.Holt@soligent.net


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    Debtor Name Lumio Holdings, et al.,                                                                   Case Number


     Name of creditor and complete          Name, telephone number, and     Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code    email address of creditor       (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                            contact                         debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                            professional          unliquidated, total claim amount and deduction for value of
                                                                            services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                  Total claim, if   Deduction for      Unsecured
                                                                                                                  partially         value of           claim
                                                                                                                  secured           collateral or
                                                                                                                                    setoff


9    Workday, Inc                          Andrew Athens
     6110 Stoneridge Mall Road             P: 801-834-3458                  Trade Debt                                                                  $931,370.51
     Pleasanton, CA 94588                  andrew.athens@workday.com

10 Salesforce.com                          James Restelli
   415 Mission Street, 3rd Floor           P: 224-676-8513                  Trade Debt                                                                  $770,904.37
   San Francisco, CA 94105                 jrestelli@salesforce.com

11 Podium Corporation, Inc                 Sam Simmons
   Podium Corporation, Inc 1650 W.
                                           P: 801-438-4425           Trade Debt                                                                         $738,382.52
   Digital Drive
                                           samuel.simmons@podium.com
   Lehi, UT 84043

12 Wilson Sonsini Goodrich & Rosati, Deno Himonas
   Professional Corporation
                                     P: 801-401-8520                        Professional Fees                                                           $724,326.59
   650 Page Mill Road
                                     dhimonas@wsgr.com
   Palo Alto, CA 94304

13 TripActions, Inc                        David Matty
   1501 Page Mill Road Building 1
                                           P: 206-379-5540                  Trade Debt                                                                  $655,614.93
   Upper
                                           dmatty@navan.com
   Palo Alto, CA 94304

14 Redwood Fire and Casualty               c/o Berkshire Hathaway
   Insurance Company                       Homestate Companies              InsuranceTrade
                                                                                                                                                        $635,690.07
   1314 Douglas StreetOmahaNE              Jodi Van Winkle                  Debt
   68102, CA 90074                         Jvanwinkle@BHHC.com

15 Ballard Spahr LLP                       Attn: Thomas F. Burke
   PO Box 825470                           P: 215-864-8463                  Professional Fees                                                           $610,857.54
   Philadelphia, PA 19182-5470             BurkeT@ballardspahr.com

16
     Stanley Desir
                                                                            Trade Debt                                                                  $560,943.00
     Address on File                       sunstreamsolarllc@gmail.com


17 Holland & Knight LLP                    John Grugan
   PO Box 936937
                                           P: 215-252-9610                  Professional Fees                                                           $493,126.71
                                           John.Grugan@hklaw.com
     Atlanta, GA 31193-6937

18 Sahalee Partners LLC                    Travis Wilson
   357 Roberts Circle                      P: 801-897-5644                  Professional Fees                                                           $480,000.00
   Alpine, UT 84004                        travis@sahaleepartners.com

19 Paul Hastings LLP                       Katherine E. Bell
   515 S Flower St Suite 2500              P: 714-668-6238                Professional Fees                                                             $450,000.00
   Los Angeles, CA 90071                   katherinebell@paulhastings.com

20 inContact Inc                    Jamie Boyack
                                    NICE inContact
   75 W Towne Ridge Parkway Tower 1                                         Trade Debt                                                                  $329,648.94
                                    P: 801 -320-3200
   Sandy, UT 84070-5522
                                           Jamie.Boyack@niceincontact.com




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  Debtor Name Lumio Holdings, et al.,                                                  Case Number


   Name of creditor and complete          Name, telephone number, and           Nature of     Indicate if Amount of unsecured claim
   mailing address, including zip code    email address of creditor contact     the claim     claim is    If the claim is fully unsecured, fill in only unsecured
                                                                                (for example, contingent, claim amount. If claim is partially secured, fill in
                                                                                trade debts, unliquidated total claim amount and deduction for value of
                                                                                bank loans, , or          collateral or setoff to calculate unsecured claim.
                                                                                professional disputed
                                                                                services, and
                                                                                                             Total claim, if   Deduction for      Unsecured
                                                                                                             partially         value of           claim
                                                                                                             secured           collateral or
                                                                                                                               setoff


21 Reyes Gonzales III
                                         Reyes Gonzales III
   Elite Energy LLC
                                         P: 432-231-7208                       Trade Debt                                                         $309,802.68
   Address on File
                                         reyes.gonzales@eliteenergyusa.com


22 Lehi Spectrum Office 2, L.C           Ryan Simmons
   101 S 200 E                           P: 801-592-2495                       Lease                                                              $298,712.22
   Salt Lake City, UT 84111              rsimmons@boyercompany.com

23 Okta Inc                              Marla Espenschied
   100 First Street Suite 600            P: 415-534-6728                       Trade Debt                                                         $282,589.19
   San Francisco, CA 94105               maria.espenschied@okta.com

24 Losey PLLC                            Adam Losey
                                                                               Professional
   1420 Edgewater Dr                     P: 407-906-1605                                                                                          $250,000.00
                                                                               Fees
   Orlando, FL 32804                     alosey@losey.law

25 Albany Road- Challenger South LLC Melissa Edgin
   155 Federal Street Suite 1202     P: 812-830-2068                   Lease                                                                      $212,295.93
   Boston, MA 2110                   medgin@commonwealthcommercial.com


26 Salesloft, Inc                        Rufus Thompson
   1180 W Peachtree St NW Suite 2400     P: 770-756-8022                       Trade Debt                                                         $201,177.41
   Atlanta, GA 30309                     Rufus.thompson@salesloft.com

27 Holland & Hart                        Eric Maxfield
                                         P: 801-799-5882                   Professional
   PO Box 8749                                                                                                                                    $200,002.34
                                         jjameson@bellwetherfoodgroup.com; Fees
   Denver, CO 80201
                                         egmaxfield@hollandhart.com

28 BairesDev LLC                         David Lara
   1999 S Bascom Ave Suite 700           P: 408-478-2739                       Trade Debt                                                         $196,260.00
   Campbell, CA 95008                    David.lara@bairesdev.com

29 SADA Systems Inc                      Sam Wells
   5250 Lankershim Blvd Suite 620        P: 561-212-4071                       Trade Debt                                                         $191,147.19
   North Hollywood, CA 91601             sam.wells@sada.com

   AOB Lamar LLC
30 450 SKOKIE BLVD STE 1000              Cheryl Zellers
   Northbrook, IL 60062-7917             P: 817-226-0000                       Lease                                                              $175,679.62
   701 NW 5th Street                     czellers@advisorstx.com




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE



    In re:                                                          Chapter 11

    LUMIO HOLDINGS, INC., et al., 1                                 Case No. 24-(_____) (___)

                                      Debtors.                      (Joint Administration Requested)




                             CORPORATE OWNERSHIP STATEMENT
                            AND LIST OF EQUITY SECURITY HOLDERS

                   Pursuant to rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of

Bankruptcy Procedure, the above-captioned debtors and debtors in possession hereby state as

follows:

                   1.       A list of the equity interest holders of Debtor Lumio Holdings, Inc., along

with the nature of their equity interests, is attached hereto as Exhibit A. Lumio Holdings, Inc. has

no parent corporation that owns 10% or more of its shares.

                   2.       Debtor Lumio HX, Inc. is 100% owned by Debtor Lumio Holdings, Inc.

Both entities share the same address: 1550 W Digital Drive, Suite 200, Lehi, Utah 84043.




1
      The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
      number, are Lumio Holdings, Inc. (7119) and Lumio HX, Inc. (7401). The Debtors’ headquarters is located at
      1550 W Digital Drive, Suite 200, Lehi, UT 84043.
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                                        EXHIBIT A

                    List of Lumio Holdings, Inc.’s Equity Interest Holders

      Equity Holder            Nature of Equity Interest        Approximate Equity
                                                                  Interest Held (%)
Asami Lovely                  Common Stock                   0.08

Austen Anderson               Common Stock                   0.02

Ben Harper                    Common Stock                   0.21

Brian Palmer                  Common Stock                   0.05

Brian Schonbeck               Common Stock                   11.32

Casey Lund                    Common Stock                   0.04

Catherine Schade              Common Stock                   0.02

Chad Irish                    Common Stock                   <0.01

Chad Meyer                    Common Stock                   0.01

Cody Cutrer                   Common Stock                   0.08

Craig Hobson                  Common Stock                   0.15

Daniel Magstadt               Common Stock                   0.02

David Burggraaf               Common Stock                   0.80

David Schonberg               Common Stock                   0.80

Desiree Lee-Hjelm             Common Stock                   0.02

Eli Hardin                    Common Stock                   0.08

Ethan Desmarais               Common Stock                   0.40

Greg Butterfield              Common Stock                   23.26

Hayden Young                  Common Stock                   0.04

Hector Fonseca                Common Stock                   <0.01
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Jacob Wanamaker             Common Stock               0.01

Jake Nelson                 Common Stock               0.01

James Turschmann            Common Stock               0.02

Jared Fitch                 Common Stock               0.48

Jeff Largent                Common Stock               0.04

Jerry Heemstra              Common Stock               <0.01

John Bankhead               Common Stock               8.55

John Baxter                 Common Stock               0.05

Jonathan Gibbs              Common Stock               8.02

Jordan Edwards              Common Stock               0.03

Jordan Mehlhoff             Common Stock               5.29

Jordan Newby                Common Stock               0.02

Jose Perez                  Common Stock               <0.01

Judd Stander                Common Stock               11.32

Julie Murray                Common Stock               0.08

Kaden Mason                 Common Stock               0.02

Kevin Copeland              Common Stock               4.12

Lorenna Rojas               Common Stock               <0.01

Matthew Morrill             Common Stock               0.08

Michael Ziwisky             Common Stock               0.10

Michaela Broeker            Common Stock               0.02

Mike Barker                 Common Stock               0.02

Mitch Weight                Common Stock               0.13
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Nick Morrison              Common Stock               0.02

Oscar Luna                 Common Stock               8.55

Parry Jarman               Common Stock               0.40

Rachel Wells               Common Stock               0.02

Rex Schade                 Common Stock               4.52

Rex Schade Sr.             Common Stock               0.08

Rey Alonzo                 Common Stock               0.01

Richard Teesdale           Common Stock               0.18

Rob Orton                  Common Stock               0.03

Robert Smith               Common Stock               0.02

Ryan Shaw                  Common Stock               0.16

Sano Mageo                 Common Stock               0.02

Scott Townsend             Common Stock               0.01

Shawn Brenchley            Common Stock               1.50

Shelly Sperling            Common Stock               0.04

Simon Williams             Common Stock               0.16

Spencer Divver             Common Stock               0.32

Steffany Thompson          Common Stock               <0.01

Steve Matthews             Common Stock               0.16

Steve Szrimai              Common Stock               <0.01

Steven King                Common Stock               0.13

Travis Wilson              Common Stock               3.21

Tyler Petersen             Common Stock               0.01
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Victoria Blunt           Common Stock               <0.01

Yumi Schade              Common Stock               4.25

Zackary Woodmansee       Common Stock               0.16
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 Fill in this information to identify the case and this filing:


              Lumio Holdings, Inc.
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a declaration__________________________________________________________________________________
                                                     Corporate Ownership Statement and List of Equity Security Holders




        I declare under penalty of perjury that the foregoing is true and correct.


                    09/03/2024
        Executed on ______________                          /s/ Jeffrey T. Varsalone
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Jeffrey T. Varsalone
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
